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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CLINICAL WOUND SOLUTIONS, LLC. )
                               )
     Plaintiff,                )
                               )
v.                             )                  Case No. 18-cv-07916
                               )
NORTHWOOD, INC.,               )                  Judge Martha M. Pacold
                               )                  Magistrate Judge M. David Weisman
     Defendant.                )

                    PLAINTIFF’S MOTION FOR EXTENSION OF TIME

       Plaintiff, Clinical Wound Solutions, LLC, by and through its attorney, respectfully

submits this Motion for Extension of Time to Respond to Defendant’s Second Set of

Interrogatories and states as follows:

       1.     Defendant served its Second Set of Interrogatories upon counsel for the Plaintiff

on January 22, 2020 to be answered within thirty (30) days of service.

       2.     Due to the number of years over which the transactions occurred, the amount

of claims to be reviewed and the information being requested, additional time is required to

respond to these additional interrogatories.

       3.     Plaintiff requests an additional 28 days to respond to the additional

interrogatories.

       WHEREFORE, Plaintiff respectfully prays for the entry of an order granting Plaintiff

an additional 28 days to respond to the additional interrogatories, plus any further relief in

favor of the Plaintiff as this Honorable Court deems just and proper.
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Dated: February 18, 2020                                                Respectfully submitted,

                                                                        By: /s/ Sandra T. Kahn


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